Case 0:20-cv-61476-RAR Document 1 Entered on FLSD Docket 07/22/2020 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO.:

 MICHAEL MAGGIO,

               Plaintiff,
 v.

 CONSUMER CAPITAL ADVOCATES, LLC,
 JENSSEN VARELA A/K/A JENNSEN VARELA,

             Defendants.
 ________________________________________/

                                         COMPLAINT
                                     {Jury Trial Demanded}

        Plaintiff, MICHAEL MAGGIO, brings this action against Defendants, CONSUMER

 CAPITAL ADVOCATES, LLC and JENSSEN VARELA A/K/A JENNSEN VARELA, pursuant

 to the Fair Labor Standards Act (“FLSA”), 29 U.S.C § 201 et seq., and alleges as follows:

 1.     Jurisdiction is conferred on this Court by 28 U.S.C. § 1331 and 29 U.S.C. § 216(b).

 2.     At all times material hereto, Plaintiff MICHAEL MAGGIO was a resident of the State of

 Florida and an “employee” of Defendants as defined by the FLSA.

 3.     At all times material hereto, Plaintiff engaged in interstate commerce on a regular and

 recurring basis within the meaning of the FLSA including but not limited to interstate telephone

 and email communication with clients and creditors located in Washington, California, Missouri,

 Kansas, Ohio, New York, and other states.

 4.     At all times material hereto, Defendant CONSUMER CAPITAL ADVOCATES, LLC was

 a Florida corporation with its principal place of business in South Florida, engaged in commerce

 in the field of consumer debt management, at all times material hereto was the “employer” of
Case 0:20-cv-61476-RAR Document 1 Entered on FLSD Docket 07/22/2020 Page 2 of 3



 Plaintiff as that term is defined under statutes referenced herein, engaged along with its employees

 in interstate commerce, and has annual gross sales and/or business volume of $500,000 or more.

 5.     Defendant, JENSSEN VARELA A/K/A JENNSEN VARELA, is a resident of Broward

 County, Florida and was, and now is, a manager of Defendant, CONSUMER CAPITAL

 ADVOCATES, LLC, controlled Plaintiff’s duties, hours worked, and compensation, and managed

 the day-to-day operations of CONSUMER CAPITAL ADVOCATES, LLC. Accordingly,

 JENSSEN VARELA A/K/A JENNSEN VARELA was and is an “employer” of the Plaintiff within

 the meaning of 29 U.S.C. §203(d).

 6.     Two or more of Defendants’ employees handled tools, supplies, and equipment

 manfuactured outside Florida in furthernace of their business including but not limited to phones,

 computers, computer monitors, computer keyboards, computer mice, pens, and paper.

 7.     Plaintiff MICHAEL MAGGIO worked for Defendants as an account manager.

 8.     Defendants failed to pay Plaintiff’s full and proper overtime wages of 1.5 times Plaintiff’s

 regular hourly rate for hours worked over 40 each week.

 9.     Attached as Exhibit A is a preliminary calculation of Plaintiff’s claims. These amounts may

 change as Plaintiff engages in the discovery process.

 10.    Defendants have knowingly and willfully refused to pay Plaintiff’s legally-entitled wages.

 11.    Plaintiff has complied with all conditions precedent to bringing this suit, or same have been

 waived or abandoned.

 12.    Plaintiff has retained the services of the undersigned and is obligated to pay for the legal

 services provided.
Case 0:20-cv-61476-RAR Document 1 Entered on FLSD Docket 07/22/2020 Page 3 of 3



                                     COUNT I
                 VIOLATION OF FAIR LABOR STANDARDS ACT (“FLSA”)
                                ALL DEFENDANTS

 13.     Plaintiff realleges and incorporates the allegations set forth in paragraphs 1-12 above as if

 set forth herein in full.

 14.     Plaintiff alleges this action pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 216 (b),

 that Plaintiff is entitled to: (i) time-and-a-half overtime pay and (ii) liquidated damages pursuant

 to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

 15.     Plaintiff seeks recovery of damages as referenced above and further seeks interest, costs,

 and attorneys’ fees pursuant to 29 U.S.C. § 216(b).

         WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally, plus

 costs, reasonable attorneys’ fees, and such other remedy as the court deems just and appropriate.

                                               Respectfully submitted,

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